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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

CIGNA CORPORATION,                                )
                                                  )
            Plaintiff,                            )
                                                  )
      v.                                          )            No. 4:23-CV-93 RLW
                                                  )
AMY BRICKER, et al.,                              )
                                                  )
            Defendants.                           )

                           PRELIMINARY INJUNCTION ORDER

       For the reasons stated in the Court’s Findings of Fact, Conclusions of Law, and Order of

today’s date and incorporated herein,

       IT IS HEREBY ORDERED that pending final determination on the merits of this case,

Defendant Amy Bricker is prohibited from directly or indirectly, alone or in concert with others:

       (1) Providing any services to, or for, CVS Pharmacy, Inc., CVS Health Corporation, or any

           of its entities, or any other business or entity that is engaged in a business similar to, or

           that competes with, the business of Cigna Corporation, including specifically that

           Defendant Amy Bricker shall not accept the position of CVS Pharmacy, Inc.’s

           Executive Vice President, Retail;

       (2) Providing services to, or for, CVS Pharmacy, Inc., CVS Health Corporation, or any of

           its entities, or any other business or entity that competes with the business of Cigna

           Corporation, that will likely result in the disclosure of Cigna Corporation’s confidential

           information to such business or use Cigna Corporation’s confidential information on

           behalf of such business, including specifically that Defendant Amy Bricker shall not

           accept the position of CVS Pharmacy, Inc.’s Executive Vice President, Retail;
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       (3) Divulging, revealing, or otherwise disclosing to CVS Pharmacy, Inc., CVS Health

           Corporation or any of its entities, or any other person or entity, any trade secrets or

           confidential information of Cigna Corporation.

       IT IS FURTHER ORDERED that the Two Hundred Fifty Thousand Dollar ($250,000)

surety bond Cigna Corporation posted with the Clerk of Court on February 23, 2023, (ECF No.

66), shall remain as security pursuant to Fed. R. Civ. P. 65(c).




                                                      __________________________________
                                                      RONNIE L. WHITE
                                                      UNITED STATES DISTRICT JUDGE


Dated this 5th day of June, 2023.




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